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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                             Southern District
                                              __________       of New
                                                           District    York
                                                                    of __________


                  United States of America                     )
                             Plaintiff                         )
                                v.                             )      Case No.     16-cr-00746(PKC)-1
                       David Bergstein                         )
                            Defendant                          )

                                               APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          David Bergstein                                                                                              .


Date:          03/12/2018                                                               /s/ Brian R. Michael
                                                                                         Attorney’s signature


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